                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                   )
                                           )
v.                                         )       NO. 3:13-00069
                                           )       JUDGE CAMPBELL
CLAUDIO PILLADO-CABRERA                    )


                                          ORDER

       Pending before the Court is the Defendant’s Motion For Leave To Proceed Under Seal

(Docket No. 182). The Motion is GRANTED.

       Also pending before the Court is the Defendant’s Unopposed Motion To Continue

Sentencing Hearing (Docket No. 181). Through the Motion, the Defendant seeks to continue the

sentencing hearing in this case, currently set for August 4, 2014. The Motion is GRANTED.

Accordingly, the sentencing hearing is CONTINUED until October 24, 2014, at 3:00 p.m.

       IT IS SO ORDERED.



                                                   __________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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